Case 1:20-cv-02354-WJM-KMT Document 29-1 Filed 12/04/20 USDC Colorado Page 1 of 11




                          EXHIBIT A
Case 1:20-cv-02354-WJM-KMT
 Search                            Document
        - Supreme Court of the United States 29-1 Filed 12/04/20 USDC Colorado Page
                                                                               Page22ofof1111




                                         Search documents in this case:                                   Search


           No. 19-511

           Title:                       Facebook, Inc., Petitioner
                                        v.
                                        Noah Duguid, et al.

           Docketed:                    October 21, 2019

           Lower Ct:                    United States Court of Appeals for the Ninth Circuit

             Case Numbers:              (17-15320)

             Decision Date:             June 13, 2019

             Rehearing Denied:          August 22, 2019

           Questions Presented




           DATE                         PROCEEDINGS AND ORDERS

           Oct 17 2019                  Petition for a writ of certiorari filed. (Response due November 20, 2019)

                                        Petition      Appendix         Certificate of Word Count         Proof of
                                        Service

           Nov 07 2019                  Blanket Consent filed by Petitioner, Facebook, Inc.

                                        Blanket Consent

           Nov 18 2019                  Waiver of right of respondent Noah Duguid to respond filed.

                                        Main Document

           Nov 20 2019                  Brief amicus curiae of Credit Union National Association, Inc. filed.

                                        Main Document          Certificate of Word Count         Proof of
                                        Service

           Nov 20 2019                  Brief of respondent United States filed.

                                        Main Document          Certificate of Word Count

           Nov 20 2019                  Brief amici curiae of Midland Credit Management, Inc. and Encore
                                        Capital Group, Inc. filed.




 https://www.supremecourt.gov/search.aspx?filename=/docket/docketfiles/html/public/19-5... 11/3/2020
Case 1:20-cv-02354-WJM-KMT
 Search                            Document
        - Supreme Court of the United States 29-1 Filed 12/04/20 USDC Colorado Page
                                                                               Page33ofof1111



                                        Main Document           Certificate of Word Count          Proof of
                                        Service

           Nov 20 2019                  Brief amici curiae of Chamber of Commerce of the United States of
                                        America and Business Roundtable filed.

                                        Main Document           Certificate of Word Count          Proof of
                                        Service

           Nov 20 2019                  Brief amicus curiae of ACA International, Inc. filed.

                                        Main Document           Proof of Service         Certificate of Word
                                        Count

           Nov 20 2019                  Brief amicus curiae of Retail Litigation Center, Inc. filed.

                                        Main Document           Certificate of Word Count          Proof of
                                        Service

           Nov 25 2019                  Waiver of the 14-day waiting period under Rule 15.5 filed.

                                        Main Document

           Nov 26 2019                  DISTRIBUTED for Conference of 12/13/2019.



           Dec 02 2019                  Reply of petitioner Facebook, Inc. filed. (Distributed)

                                        Main Document           Certificate of Word Count          Proof of
                                        Service

           Dec 04 2019                  Response Requested. (Due January 3, 2020)



           Jan 03 2020                  Brief of respondent Noah Duguid in opposition filed.

                                        Main Document           Certificate of Word Count          Proof of
                                        Service

           Jan 06 2020                  Letter waiving the 14-day waiting period for the distribution of the petition
                                        pursuant to Rule 15.5 filed.

                                        Main Document

           Jan 08 2020                  DISTRIBUTED for Conference of 1/24/2020.



           Jan 10 2020                  Reply of petitioner Facebook, Inc. filed. (Distributed)

                                        Main Document           Certificate of Word Count          Proof of
                                        Service




 https://www.supremecourt.gov/search.aspx?filename=/docket/docketfiles/html/public/19-5... 11/3/2020
Case 1:20-cv-02354-WJM-KMT
 Search                            Document
        - Supreme Court of the United States 29-1 Filed 12/04/20 USDC Colorado Page
                                                                               Page44ofof1111




           Jul 07 2020                  Supplemental brief of petitioner Facebook, Inc. filed. (Distributed)

                                        Main Document           Certificate of Word Count         Proof of
                                        Service

           Jul 08 2020                  DISTRIBUTED for Conference of 7/8/2020.



           Jul 08 2020                  Supplemental brief of respondent Noah Duguid filed.

                                        Main Document           Proof of Service         Certificate of Word
                                        Count

           Jul 09 2020                  Petition GRANTED limited to Question 2 presented by the petition.



           Jul 24 2020                  Motion for an extension of time filed.

                                        Main Document

           Jul 24 2020                  Motion to extend the time to file the briefs on the merits granted. The
                                        time to file the joint appendix and petitioner's brief on the merits is
                                        extended to and including September 4, 2020. The time to file
                                        respondents' brief on the merits is extended to and including October 16,
                                        2020.



           Sep 04 2020                  Brief of respondent United States in support filed.

                                        Main Document           Certificate of Word Count

           Sep 04 2020                  Joint appendix filed.

                                        Main Document

           Sep 04 2020                  Brief of petitioner Facebook, Inc. filed.

                                        Main Document           Other       Certificate of Word Count          Proof
                                        of Service

           Sep 10 2020                  Brief amicus curiae of Washington Legal Foundation filed.

                                        Main Document           Certificate of Word Count         Proof of
                                        Service

           Sep 10 2020                  Brief amici curiae of Professional Association for Customer Engagement
                                        and Noble Systems Corporation filed.

                                        Main Document           Certificate of Word Count         Proof of
                                        Service

           Sep 11 2020                  Brief amicus curiae of Home Depot, Inc. filed.




 https://www.supremecourt.gov/search.aspx?filename=/docket/docketfiles/html/public/19-5... 11/3/2020
Case 1:20-cv-02354-WJM-KMT
 Search                            Document
        - Supreme Court of the United States 29-1 Filed 12/04/20 USDC Colorado Page
                                                                               Page55ofof1111



                                        Main Document            Certificate of Word Count            Proof of
                                        Service

           Sep 11 2020                  Brief amicus curiae of Salesforce.com, Inc. filed.

                                        Main Document            Certificate of Word Count            Proof of
                                        Service

           Sep 11 2020                  Brief amicus curiae of Midland Credit Management, Inc. filed.

                                        Main Document            Certificate of Word Count            Proof of
                                        Service

           Sep 11 2020                  Brief amici curiae of Chamber of Commerce of the United States of
                                        America, et al. filed.

                                        Main Document            Certificate of Word Count            Proof of
                                        Service

           Sep 11 2020                  Brief amicus curiae of Credit Union National Association, Inc. filed.

                                        Main Document            Certificate of Word Count            Proof of
                                        Service

           Sep 11 2020                  Brief amicus curiae of Portfolio Recovery Associates, LLC filed.

                                        Main Document            Certificate of Word Count            Proof of
                                        Service

           Sep 11 2020                  Brief amicus curiae of Quicken Loans, LLC filed.

                                        Main Document            Certificate of Word Count            Proof of
                                        Service

           Sep 11 2020                  Brief amici curiae of “On-Demand” Technology Platforms filed.

                                        Main Document            Certificate of Word Count            Proof of
                                        Service

           Sep 11 2020                  Brief amici curiae of Retail Litigation Center, Inc., et al. filed.

                                        Proof of Service         Certificate of Word Count            Main
                                        Document

           Sep 11 2020                  Brief amici curiae of Life Insurance Direct Marketing Association,
                                        American Property Casualty Insurance Association and Consumer Credit
                                        Industry Association filed.

                                        Main Document            Certificate of Word Count            Proof of
                                        Service

           Sep 11 2020                  Brief amici curiae of Healthcare Companies filed.




 https://www.supremecourt.gov/search.aspx?filename=/docket/docketfiles/html/public/19-5... 11/3/2020
Case 1:20-cv-02354-WJM-KMT
 Search                            Document
        - Supreme Court of the United States 29-1 Filed 12/04/20 USDC Colorado Page
                                                                               Page66ofof1111



                                        Main Document           Certificate of Word Count           Proof of
                                        Service

           Sep 16 2020                  SET FOR ARGUMENT on Tuesday, December 8, 2020.



           Oct 08 2020                  Record requested from the U.S.C.A. 6th Circuit.



           Oct 16 2020                  Brief of respondent Noah Duguid filed.

                                        Main Document           Certificate of Word Count           Proof of
                                        Service

           Oct 23 2020                  Brief amici curiae of Electronic Privacy Information Center, et al. filed.
                                        (Distributed)

                                        Main Document           Certificate of Word Count           Proof of
                                        Service

           Oct 23 2020                  Brief amici curiae of 21 Members of Congress filed. (Distributed)

                                        Main Document           Proof of Service         Certificate of Word
                                        Count

           Oct 23 2020                  Brief amici curiae of State of North Carolina, et al. filed. (Distributed)

                                        Main Document           Certificate of Word Count           Proof of
                                        Service

           Oct 23 2020                  Brief amicus curiae of Main Street Alliance filed. (Distributed)

                                        Main Document           Certificate of Word Count           Proof of
                                        Service

           Oct 23 2020                  Brief amici curiae of John McCurley and Dan Deforest filed. (Distributed)

                                        Main Document           Certificate of Word Count           Proof of
                                        Service

           Oct 23 2020                  Motion for divided argument filed by petitioner Facebook, Inc.

                                        Main Document           Proof of Service

           Oct 23 2020                  Amicus brief of Dr. Henning Schulzrinne submitted.

                                        Main Document           Proof of Service         Certificate of Word
                                        Count

           Oct 23 2020                  Amicus brief of National Consumer Law Center, Consumer Federation of
                                        America, and Consumer Reports submitted.




 https://www.supremecourt.gov/search.aspx?filename=/docket/docketfiles/html/public/19-5... 11/3/2020
Case 1:20-cv-02354-WJM-KMT
 Search                            Document
        - Supreme Court of the United States 29-1 Filed 12/04/20 USDC Colorado Page
                                                                               Page77ofof1111



                                                 Main Document        Certificate of Word Count   Proof of
                                                 Service

           Oct 27 2020                           CIRCULATED




           NAME                                  ADDRESS                           PHONE

           Attorneys for Petitioner

           Paul D. Clement                       Kirkland & Ellis LLP              2023895000
             Counsel of Record                   1301 Pennsylvania Avenue, NW
                                                 Washington, DC 20004

                                                 paul.clement@kirkland.com

           Party name: Facebook, Inc.

           Attorneys for Respondents

           Sergei Lemberg                        Lemberg Law, LLC                  203-653-2250
             Counsel of Record                   43 Danbury Road
                                                 Wilton, CT 06897

                                                 slemberg@lemberglaw.com

           Party name: Noah Duguid

           Jeffrey B. Wall                       Acting Solicitor General          202-514-2217
             Counsel of Record                   United States Department of
                                                 Justice
                                                 950 Pennsylvania Avenue, NW
                                                 Washington, DC 20530-0001

                                                 SupremeCtBriefs@USDOJ.gov

           Party name: United States in support of petitioner

           Other

           Corbin Knight Barthold                Washington Legal Foundation       2025880302
             Counsel of Record                   2009 Massachusetts Ave., NW
                                                 Washington, DC 20036

                                                 cbarthold@wlf.org

           Party name: Washington Legal Foundation




 https://www.supremecourt.gov/search.aspx?filename=/docket/docketfiles/html/public/19-5... 11/3/2020
Case 1:20-cv-02354-WJM-KMT
 Search                            Document
        - Supreme Court of the United States 29-1 Filed 12/04/20 USDC Colorado Page
                                                                               Page88ofof1111



           Keith Bradley                         Squire Patton Boggs (U.S.) LLP       303-894-6156
             Counsel of Record                   1801 California Street, Suite 4900
                                                 Denver, CO 80202

                                                 keith.bradley@squirepb.com

           Party name: Home Depot, Inc.

           Alan Jay Butler                       Electronic Privacy Information       2024831140
             Counsel of Record                   Center
                                                 1519 New Hampshire Avenue NW
                                                 Washington, DC 20036

                                                 butler@epic.org

           Party name: Electronic Privacy Information Center, et al.

           Shay Dvoretzky                        Jones Day                            2028793474
             Counsel of Record                   51 Louisiana Avenue NW
                                                 Washington, DC 20001-2113

                                                 sdvoretzky@jonesday.com

           Party name: Chamber of Commerce of the United States of America, et al.

           Julian Richard Ellis Jr.              Brownstein Hyatt Farber Schreck,     303-223-1142
             Counsel of Record                   LLP
                                                 410 17th Street, Suite 2200
                                                 Denver, CO 80202

                                                 jellis@bhfs.com

           Party name: Credit Union National Association, Inc.

           Albert Quoc Giang                     King & Spalding LLP                  (213) 629-9040
             Counsel of Record                   633 West Fifth Street
                                                 Suite 1600
                                                 Los Angeles, CA 90071

                                                 agiang@kslaw.com

           Party name: “On-Demand” Technology Platforms

           William McGinley Jay                  Goodwin Procter, LLP                 2023464190
             Counsel of Record                   1900 N Street, N.W.
                                                 Washington, DC 20036

                                                 WJay@goodwinlaw.com

           Party name: Quicken Loans, LLC




 https://www.supremecourt.gov/search.aspx?filename=/docket/docketfiles/html/public/19-5... 11/3/2020
Case 1:20-cv-02354-WJM-KMT
 Search                            Document
        - Supreme Court of the United States 29-1 Filed 12/04/20 USDC Colorado Page
                                                                               Page99ofof1111



           Seyed Abbas Kazerounian                 Kazerouni Law Group APC         800-400-6808
             Counsel of Record                     245 Fischer Ave., Suite D-1
                                                   Costa Mesa, CA 92626

                                                   ak@kazlg.com

           Party name: John McCurley and Dan Deforest

           Keith James Keogh                       Keogh Law, LTD                  312-726-1092
             Counsel of Record                     55 W. Monroe St, Suite 3390
                                                   Chicago, IL 60603

                                                   keith@keoghlaw.com

           Party name: 21 Members of Congress

           Joseph Russell Palmore                  Morrison & Foerster LLP         202-887-6940
             Counsel of Record                     2000 Pennsylvania Ave., NW
                                                   Washington, DC 20006

                                                   jpalmore@mofo.com

           Party name: Retail Litigation Center, Inc., et al.

           Ernesto Rafael Palomo                   Locke Lord LLP                  3124430477
             Counsel of Record                     111 South Wacker Drive
                                                   Suite 4100
                                                   Chicago, IL 60606

                                                   epalomo@lockelord.com

           Party name: Life Insurance Direct Marketing Association, American Property Casualty Insurance Association
           and Consumer Credit Industry Association

           Ryan Young Park                         North Carolina Department of    9197166400
             Counsel of Record                     Justice
                                                   P.O. Box 629
                                                   Raleigh, NC 27602

                                                   rpark@ncdoj.gov

           Party name: State of North Carolina, et al.

           Mark Andrew Perry                       Gibson Dunn & Crutcher, LLP     202-887-3667
             Counsel of Record                     1050 Connecticut Avenue, NW
                                                   Washington, DC 20036-5306

                                                   mperry@gibsondunn.com

           Party name: salesforce.com, inc.




 https://www.supremecourt.gov/search.aspx?filename=/docket/docketfiles/html/public/19-5... 11/3/2020
Case
Search1:20-cv-02354-WJM-KMT        Document
       - Supreme Court of the United States 29-1 Filed 12/04/20 USDC ColoradoPage
                                                                               Page  1011
                                                                                  10 of of
                                              11


          Maxwell Vaughn Pritt                  Boies Schiller Flexner LLP         (415) 293-6800
            Counsel of Record                   44 Montgomery Street, 41st Floor
                                                San Francisco, CA 94104

                                                mpritt@bsfllp.com

          Party name: Healthcare Companies

          Zachary Charles Schauf                Jenner & Block, LLP                202-637-6379
            Counsel of Record                   1099 New York Ave., NW
                                                Washington, DC 20001

                                                ZSchauf@jenner.com

          Party name: Midland Credit Management, Inc.

          Michele Ann Shuster                   Mac Murray & Shuster, LLP          6149399955
            Counsel of Record                   6525 West Campus Oval, Suite
                                                210
                                                New Albany, OH 43054

                                                mshuster@mslawgroup.com

          Party name: Professional Association for Customer Engagement and Noble Systems Corporation

          Kris Skaar                            133 Mirramont Lake Drive           770 427 5600
            Counsel of Record                   Woodstock, GA 30189

                                                kskaar@skaarandfeagle.com

          Party name: Dr. Henning Schulzrinne

          Misha Tseytlin                        Troutman Sanders LLP               (312) 759-5947
            Counsel of Record                   227 W. Monroe
                                                Suite 3900
                                                Chicago, IL 60606

                                                misha.tseytlin@troutman.com

          Party name: Portfolio Recovery Associates, LLC

          Tara Twomey                           National Consumer Law Center       617 542-8010
            Counsel of Record                   7 Winthrop Square
                                                Boston, MA 02110

                                                tara.twomey@comcast.net

          Party name: National Consumer Law Center, Consumer Federation of America, and Consumer Reports




https://www.supremecourt.gov/search.aspx?filename=/docket/docketfiles/html/public/19-5... 11/3/2020
Case
Search1:20-cv-02354-WJM-KMT        Document
       - Supreme Court of the United States 29-1 Filed 12/04/20 USDC ColoradoPage
                                                                               Page  1111
                                                                                  11 of of
                                              11


          Steven Gregory White                  Gray Reed & McGraw LLP        214-954-4135
            Counsel of Record                   1601 Elm Street
                                                Suite 4600
                                                Dallas, TX 75201

                                                gwhite@grayreed.com

          Party name: ACA International, Inc.

          John A. Yanchunís                     James Hoyer, et al.           8132230931
            Counsel of Record                   4830 W. Kennedy Blvd.
                                                Suite 147
                                                Tampa, FL 33609

                                                jyanchunis@forthepeople.com

          Party name: Main Street Alliance




https://www.supremecourt.gov/search.aspx?filename=/docket/docketfiles/html/public/19-5... 11/3/2020
